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                                                        Sealed                           FILED by           D.C.
                               UNITED STATES DISTRICT CO URT
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                                                                                           STEVEN M.LARIX RE
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   SE CU R ITIES AN D EX CH AN G E CO M M ISSIO N,
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                                           Plaintiff,
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                                                                                             W2.0ûï
                                                                                                -.-..$
   R O BERT H .SH A PIR O ,
   W O O DB RID G E G R O U P O F C O M PA N IE S,LLC ,                                     'ANSôDMAM
   d/b/a W O ODBRIDGE W EALTH ,
   R S PRO TECT IO N TR U ST ,
   W M F M ANAGEM ENT,LLG
   W   O O D BRID G E STR UC TU RE D FUN D IN G ,LLC ,
   W   O O D BR ID G E M O R TG AG E IN V ESTM EN T FUN D 1,LLC ,                     UN DER SEAL
   W   O O D BRID G E M O R TG A G E IN V ESTM EN T FU ND 2,LLC ,
   W   O O D BRID G E M O R TG A G E IN V ESTM EN T FUN D 3,LLC
   WOODBRIDGEMORTGAGEINVESTMENTFUND3A,LL/,
   W O O D BR ID G E M O R TG AG E IN V ESTM EN T FU ND 4,LL C ,
   W O O D BR ID GE C O M M ER CIA L BRID G E LO A N FU ND 1,LL C,
   W O O D BR IDG E CO M M ER CIA L BR ID G E LO A N FU ND 2,LL C,
   144 W O O DBR IDG E-AFFILIAT ED PR O PER TY L IM ITED
   LIABILITY CO M PA N IE S,1
   131 W O O DB RID G E-A FFILIA TED H O LD IN G LIM ITED
   LIA BILITY CO M PA N IE S,

                                           D efendants,and

   JEI4I su Al>lR o ,
   w o o o Bm o G E R EA LTY o F c o Lo lu o o ,LLc
   d/b/a w o o D BR ID G E R EAL TY U N LIM ITED
   wOODBRIDGELIJxtmvlloMEsOFCALIV RNIA,lNC.,
   d/b/a M ER C ER V IN E ,lN C .,
   RIVERDALE FIJNDING LLc,
   sc u w u 'rz M ED IA BIJYIN G C O M PAN Y ,Ll-c ,
   w Fs H O LDIN G C O .,LL C

                                           R eliefD efendants.


                     C O M PLA IN T FO R IN JU NC TIVE A N D O TH ER R EL IEF

   1Appendix A identitieseach ofthe nam ed l44 W oodbridge-Aftiliated Property Limited Liability Companiesand
   13lW oodbridge-AffiliatedH oldingLim itedLiabilityCom panies.
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           PlaintiffSecuritiesandExchangeCommission(ttcommission'')alleges:
      1.        IN TR O DU C TIO N
                   Beginning in July 2012 through Decem ber 4,2017,D efendantRobertH .Shapiro

   (tûshapiro'')used hisweb ofmorethan 275 Limited Liability Companiesto conductamassive
   Ponzischemeraising more than $1.22 billion from over8,400 unsuspecting investorsnationwide
   through fraudulent urtregistered securities offerings. Shapiro prom ised investors they would be

   repaid from the high ratesofinterestShapiro'scompanieswere earning on loansthe companies

   w ere purportedly m aking to third-party borrow ers. H ow ever,nearly allthe purported third-party

   borrow ersw ere actually lim ited liability com panies owned and controlled by Shapiro,w hich had

   no revenue,no barlk accounts,and neverpaid any interestunderthe loans.

           2.      Despite receiving over one billion dollars in investor funds, Shapiro and his

   com paniesonly generated approxim ately $l3.7 m illion in interestincom e from truly unaffiliated
   third-party borrow ers. W ithoutrealrevenue to pay the m oniesdue to investors,Shapiro resorted

   to fraud,using new investor m oney to pay the returns ow ed to existing investors. M eanwhile

   Shapiro and hisfamily lived in the lap ofluxury and spentexorbitantamountsofinvestormoney

   in alarming fashion,on itemssuch asluxury automobiles,jewelry,country club memberships,
   fine w ine,and chartering private planes.

                   By December2017,the fraudulentschem e collapsed. Shapiro and hiscompanies

   became unable to tim ely m eet their obligation to pay investors their m onthly dividends and

   interestpayments. Fundraising from investors was halted,and on December4,2017,Shapiro

   caused m ost of his com panies to file Chapter 11 bankruptcy. The effect of Shapiro and his

   companies'actions willleave investors with substantiallosses,as they are owed atleast$96l
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   million in principal. At least 2,600 of these investors unknowingly placed their retirem ent

   savingsinto Shapiro'sPonzischeme.

                Shapiro's entities,Defendants W oodbridge Group of Companies,LLC (d/b/a

   W oodbridge W ealth)CtW oodbridge''),RS Protection Trust(ûIRS Trust'),W M F M anagement,
   LLC (ktW MF''),W oodbridgeStructuredFunding,LLC (a/k/aW oodbridgeStructttredFundingof
   Florida, LLC) (ûûW SF'')> W oodbridge M ortgage Investment Fund l, LLC (tiFund 155)'
   W oodbridgeM ortgageInvestmentFund 2,LLC CEFund 253,W oodbridge Mortgagelnvestment
   Fund 3,LLC Cçl7und 3'5)5W oodbridge M ortgage lnvestment Fund 3A,LLC (ttFund 3A''),
   W oodbridge Mortgage lnvestmentFund 4,LLC CtFund 4''),W oodbridge CommercialBridge
   Loan Ftmd 1,LLC (ûûBridgeLoanFund 15'),W oodbridgeCommercialBridgeLoan Ftmd 2,LLC
   (ttllridge Loan Fund 2'5), 144 W oodbridge-affiliated Property Limited Liability Companies
   (Gûshapiro Property LLCs''), and         W oodbridge-aftiliated Holding Limited Liability
   Companies Ctshapiro Holding LLCs'') (collectively the Shapiro entities are referred to as
   tûcorporateDefendantsnn),wereeachessentialtoShapiro'sfraudulentbusinessoperation.
          5.     Shapiro,asthe soleperson in controlofthe Corporate Defendants,notonly made

   material misrepresentaticms and omissions to investors, but also signed falsified docum ents,

   controlled the com pany's bank accounts,m ade Ponzi paym ents to investors, paid significant

   sales comm issionsto unregistered sales agents,and m isappropriated investorfunds forhis own

   personalenjoymentandtheenjoymentofhisfamily.
          6.     At Shapiro's direction, W oodbridge's network of hundreds of in-house and

   external sales agents raised in excess of $1.22 billion dollars,falsely selling W oodbridge's
   investments as iûsafe''and ûdsecure'' Shapiro and W oodbridge directed that investor funds be

   deposited into the accounts ofW SF,Fund 1,Fund 2,Fund 3,Fund 3A,Fund 4,Bridge Loan
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   Fund 1,and Bridge Loan Fund 2 (with Shapiro as the sole authorized signer) and almost
   im m ediately com m ingled the fundsinto W oodbridge'soperating account.

          7.      Shapiro and W oodbridge used atleast$328 million to repayprincipaland interest

   to investors and spent at least another $172 million on operating expenses,ineluding $64.5

   m illion on salesagentcom m issionsand $44 million on payroll. Shapiro also spentatleast$21

   m illion ofinvestorfundson extravagantpersonalexpenditures.
          8.      Shapiro selected w hich properties w ould be purchased w ith the investors'

   com m ingled funds. Shapiro would create a Shapiro Property LLC to hold title to the property,

   m aking R S Trust and Shapiro the ultim ate beneficial owners of the properties. The Shapiro

   Property LLCS,which had no revenue source orbarlk accounts,then issued prom issory notesto

   one ofthe Fund entitiesprom ising to pay monthly interest,with the principalusually due in one

   year. D espitethe Shapiro Property LLCShaving no ability to pay m onthly interest,Shapiro and

   W oodbridge created investm entproducts w hich soughtto m arketthese Shapiro Property LLC 'S

   Prom issory notesasGdlow rislt''and ûtsim pler''investm ents.

           9.     Becausethe Fund entitieswere notreceiving any interestpaymentson theShapiro

   Property LLC prom issory notes,Shapiro instead used new investor funds to pay the interestand

   dividendsowed to previous investors. These interestpaym entscreated the illusion thatShapiro

   and W oodbridge w ere successfully loaning investor funds as prom ised to legitim ate third-party

   borrow ers who had an ability to pay m onthly interest. This allow ed W oodbridge and Shapiro to

   continually induce new investors to participate in their investm ent products and induce existing

    investors to rollovertheirinvestm entinto a new note upon m aturity,thus delaying Shapiro's and

    W oodbridge'sneed to com e up with cash to repay theprincipalbalance.
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            l0.   Shapiro caused W oodbridge and W SF to pay substantial comm issions to arl

   internaland extem alsales force in exchange for selling W oodbridge's securitiesto the public.

   H ow ever,neither W oodbridge,W SF,nor Shapiro were associated with Com m ission-registered

   broker dealers,and very few ofthe sales agentsw ere so associated.

                  ReliefdefendantsJeriShapiro(Shapiro'swife),W oodbridgeRealty ofColorado,
   LLC d/b/aW oodbridge Realty Unlimited CtW oodbridge Realty''),W oodbridge Luxury Homes
   of California, Inc. d/b/a M ercer Vine, lnc. CtM ercer Vine''), Riverdale Funding,
   (çtRiverdale'),Schwal'
                        tz MediaBuying Company,LLC (ûlschwartz M edia'),and W FS Holding
   Co.LLC (CIW FSD')a1lreceived proceedsofthe fraud withoutany legitimate entitlementto the
   funds.

            12.   Asaresultoftheconductalleged in thisCom plaint,Shapiro,W oodbridge,W M F,

   W SF,Fund 1,Fund 2,Fund 3,Fund 3A,Ftmd 4,Bridge Loan Fund 1 and Bridge Loan Fund 2

   violated Sections5(a)and 5(c)ofthe SecuritiesActof 1933 (llsecuritiesAct'')(15 U.S.C.jj
   77e(a)and 77e(c)J;Shapiro,W oodbridge,W SF,Fund 1,Fund 2,Fund 3,Fund 3A,Fund 4,
   BridgeLoanFund 1and BridgeLoanFund2 violated Section 17(a)(2)oftheSecuritiesActL15
   U.S.C.j77q(a)(2)jandSection 10(b)oftheSeeuritiesExchangeActofl934(LûExchangeAct'')
   g15U.S.C.j 78j(b))and Rule 10b-5(b)g17 C.F.R.j240.10b-5(b)1;Shapiro and the Corporate
   Defendantsviolated Sections l7(a)(1)and(3)ofthe SecuritiesAct(15 U.S.C.jj77q(a)(1)and
   (3)1and Section 10(b)ofthe ExchangeActg15U.S.C.j 78j(b)1and ExchangeActRules 10b-
   5(a)and (c)(17C.F.R.jj240.10b-5(a)and(c)); ShapiroandRSTrustviolated Section20(a)of
   the Exchange Actg15U.S.C.j 78t(a)1;W oodbridge and W SF violated Section 15(a)ofthe
   ExchangeActg15 U.S.C.j78o(a)1;and Shapizo aided and abetted W oodbridge'sand W SF'S
   violationsOfSection 15(a)oftheExchangeAct.
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                  Unlessrestrained and enjoined,the Defendantsare reasonably likely to continue
   to violate the federal securities law s.The Com m ission seeks several form s of relief, including

   asset freezes, appointm ent of a Receiver, sw orn accountings, and an order prohibiting the

   destruction ofdocuments. TheCommission also seekspermanentinjunctionsand civilmoney
   penalties againsta1lthe Defendants,and disgorgem entof ill-gotten gains againstthe D efendants

   and R eliefD efendants.

      ll.      D EFEN D A NTS A ND R ELIEF DE FEN DA N TS

            A . D efendants

                  SH APIR O is a resident of Sherm an Oaks, California and also m aintains a

   residence in A spen, Colorado. He is a Florida registered voter, and his voter infonnation

   providesa Palm Beach County address. H e is W oodbridge's owner and President,and during all

   relevant tim es m aintained sole operational control over the com pany. Shapiro is not,and has

   never been,registered w ith the Com m ission,FIN RA ,or any state securities regulator. Shapiro

   personally solicited investors, including several high net-w orth individuals, to invest in

   W oodbridge. Atallrelevanttim es,Shapiro controlled each ofthe Corporate Defendants and is

   the beneficialownerofR S Trust,which ow nsthe entitiesthathold title to the properties.

                   W O O D BR IDG E is a Sherm an O aks, California-based tinancial com pany not

   registered with the Com m ission in any capacity w ith no publicly traded stock. Form ed in 2014,

   W oodbridge has served as the m ain operating com pany of Shapiro's businesses w ith

   approxim ately 140 em ployees in oftices in six states, includilzg in Boca Raton, Florida.

   W oodbridgefonnerly operated as W oodbridge Struetured Funding,LLC and washeadquartered

   in Boca Raton,Florida.
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          16.     RS TRUST isan irrevocabledom esticassetprotection trustsettled underNevada

   law under the controlof Shapiro for the benefit of him self and his family. RS Trust is an

   um brella assettrustholding allof Shapiro's business entities and personalassets,including,but

   not lim ited to,W M F, W oodbridge,W SF,Shapiro H olding LLCS and Shapiro Property LLCS.

   RS Trust,as the beneficial ow ner of all of Shapiro's business entities, m aintained operational

   control of each of the investm ent offerings through its ownership of W oodbridge, W SF, and

   W M F.

            17.   W M F is a California Lim ited Liability Com pany fonued on June 25, 2012.

   W M F,a privately ow ned entity,w as controlled during a11relevanttim es by Shapiro. W M F is a

   holding com pany forvarious Shapiro businessentitiesincluding,butnotlim ited to,W oodbridge,

   Fund 1,Fund 2,Fund 3,Fund 3A ,Fund 4,Bridge Loan Fund 1 and Bridge Loan Fund 2.

            18.   W SF is a Delaware Limited Liability Com pany formed on July 20,2009. W SF

   w as ow ned and controlled by Shapiro during a1lrelevanttim es. W SF is not,and hasneverbeen,

   registered w ith the Com m ission in any capacity and has no publicly traded stock. From 2012

   through approxim ately 2015, W SF served as the operating com pany of Shapiro's business

   entities, including but not lim ited to,the securities offerings at issue and m aintained Shapiro's

   businesses'prim ary bank account.

                  FU N D 1 is a D elaw are Lim ited Liability Com pany form ed on June 25,2012. At

   allrelevant tim es, Shapiro w as the President and CEO of Fund l w hich is w holly-owned by

   W M F. O n A ugust 2, 2012, Fund 1 filed w ith the Com m ission a Form D notice of exem pt

   offering ofsecuritiespursuantto Rule 506 ofRegulation D ofthe SecuritiesActseeking to raise

   $l0 million from investors.
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          20.    FUND 2 isaDelaware Lim ited Liability Company fonned on December6,2013.

   A t allrelevanttim es,Shapiro w as the Presidentand CEO of Fund 2 w hich is w holly-ow ned by

   W M F. On January 8,2014,Fund 2 filed w ith the Com m ission a Form D notice of exem pt

   offering ofsecuritiespursuantto Rule 506(b)ofRegulation D ofthe SecuritiesActseeking to
   raise $25 m illion from investors.
                  FUND 3 isaDelaware Lim ited Liability Company form ed on September9,2014.

   Atal1relevanttim es,Shapiro was Presidentand CEO of Fund 3 which is wholly-owned by

   W M F. O n Septem ber 19,2014,Fund 3 filed w ith the Com m ission a Form D notice of exem pt

   offering ofsecuritiespursuantto Rule 506(b)ofRegulation D ofthe SecuritiesActseeking to
   raise $50m illion from investors.
                  FUN D 3A is a D elaw are Lim ited Liability Com pany form ed on July 28,20 15. A t

   a11relevanttim es,Shapiro was the Presidentand CEO ofFund 3A which iswholly-owned by

   W M F. O n O ctober 30,2015,Fund 3A filed w ith the Com m ission a Form D notice of exem pt

   offering ofsecuritiespursuantto Rule 506(b)ofRegulation D oftheSecuritiesActseekingto
   raise$100 m illion from investors.
          23.     FUN D 4 is a D elaw are Lim ited Liability Com pany form ed on Jtm e 3,2015.

   all relevant tim es, Shapiro w as the President and CEO of Fund 4 which is wholly-owned by

   W M F. On Novem ber21,2016,Fund 4 filed with the Com mission a Form D notice ofexempt

   offering ofsecuritiespursuantto Rule 506(b)ofRegulation D ofthe SecuritiesAd seeking to
   raise$100 m illion from investors.
           24.    BR ID G E LO A N FU N D 1 is a D elaware Lim ited Liability Com pany form ed on

    M ay 7,20l5. Atallrelevanttim es,Shapiro wasthePresidentand CEO ofBridge Loan Fund 1

    which is wholly-owned by W M F. On June 17, 2015, Bridge Loan Fund 1 filed with the


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   Commission a Form D notice of exemptoffering of securities pursuantto Rule 506(c) of
   RegulationD oftheSecuritiesActseeking to raise $50 m illion from investors.
                 BR ID G E LO A N FU N D 2 is a D elaw are Lim ited Liability Com pany form ed on

   July 28,2015. Ata11relevanttimes,Shapiro wasthe Presidentand CEO ofBridge Loan Fund 2

   which is wholly-owned by W M F. On November22,2016.Bridge Loan Fund 2 filed with the

   Commission a Form D notice of exemptoffering of securities pursuantto Rule 506(c) of
   Regulation D ofthe SecuritiesActseeking to raise $100 million from investors.
          26.    SH APIR O PR O PER TY LLC S are l44 D elaw are and Colorado Lim ited

   Liability Com panies ow ned,and atallrelevant tim es controlled by Shapiro and/or Jeri Shapiro

   (through RS Trust), which own real estate purchased with investor funds underlying the
   securitiesatissue. A listofeach Shapiro Property LLC is included in A ppendix A .

          27.    SH A PIR O H O L DIN G LLC S are 131 D elaw are and Colorado Lim ited Liability

   Com paniesthatown the Shapiro Propel'ty LLCS. The Shapiro H olding LLC w ere atallrelevant

   tim esowned and controlled by Shapiro through RS Trust.A listofeach Shapiro Holding LLC is

   included in Appendix A .

      B . R elief Defendants

          28.    JE RI SH A PIR O is Shapiro's w ife,and a resident of Sherm an Oaks,California

   w ho also m aintains a residence in A spen,Colorado. Jeri Shapiro is not,nor has she ever been,

   registered with the SEC,FINRA or any state securitiesregulator. She hasbeen employed as a

   V ice PresidentofW oodbridgesinceapproxim ately 2012. JeriShapiro also ownsand/orcontrols

   certain Shapiro Property LLCS in possession of real property and other assets purchased w ith

   investor funds. W ithout any legitim ate basis, Jeri Shapiro received investors' proceeds

   em anating from the D efendants'securities fraud.
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          29.     W OODBRIDGE REALTY is a Carbondale,Colorado based Limited Liability

   Com pany form ed on August 20, 2014, ow ned by W oodbridge, and at a11 relevant tim es

   controlled by Shapiro. W oodbridge Realty is a real estate brokerage firm responsible for

   purchasing and selling Colorado realpropel'
                                             ty owned by severalofthe Shapiro Property LLCS.

   W ithoutany legitimate basis,W oodbridge Realty received investors'proceedsemanating from

   theDefendants'securitiesfraud.
           30.    M ER CER V IN E is a Los A ngeles based, California corporation form ed on

   August 6,2014,majority-owned by W oodbridge,and at allrelevant times managed and
    controlled by Shapiro. M ercerVine is a realestate brokerage firm responsible forpurchasing,
    developing and selling California realproperty ow ned by severalofthe Shapiro Property LLCS.

    W ithout any legitim ate basis, M ercer V ine received investors' proceeds em anating from the

    D efendants'securitiesfraud.
           31.    R IV ER DA L E is a D elaw are Lim ited Liability Com pany form ed in 2012,ow ned

    by W oodbridge,and at al1 relevant tim es controlled by Shapiro. R iverdale is engaged in the

    businessofproviding hard-money loansto third-party clientsand servicing thoseloans. W ithout

    any legitim ate basis, Riverdale received investors' proceeds em anating from the Defendants'

    securitiesfraud.
           32.    SCHW ARTZ M EDIA isaDelaware Lim ited Liability Company formed on June

    11,2012 and owned and m anaged by Jeri Shapiro. W ithoutany legitim ate basis,Schwartz

    M ediareceived investors'proceedsem anating from theDefendants'securitiesfraud.

           33.    W FS is a Delaware Limited Liability Company formed in Septem ber 2017 and

    owned and m anaged by Shapiro. Pursuantto W oodbridge's bankruptcy filing and a Transition

    Services Agreement (Gt-
                          l-ransition Agreemenf') dated December l,2017,Shapiro has been


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   retained as a consultantto W oodbridge atthe m onthly rate of $l75,000 paid to W FS for the
   benefit of Shapiro. Should the purported independent m anager term inate this consulting

   agreem entwithout eause,50% ofthe totalyearly amount of$2.1 m illion willbe im mediately

   due under the Transition Agreement. Shapiro was paid the tirst $175,000 in advance upon
   executing the Transition Agreem ent. W ithout any legitim ate basis, W FS received investors'

   proceeds em anating from the Defendants'securitiesfraud.

       111. O TH E R R EG U LA TO R Y A C TION S
          34.     On July 17,2017,the Com m ission broughta subpoena enforcem ent action in this

    District (Case No. 17-mc-22665-AltonagiGoodman) against W oodbridge after W oodbridge
    failed to produce documents required under the Com mission's January 31,20l7 subpoena,

    including key docum ents relevant to the Com m ission's investigation into W oodbridge's

    investm ents and business operations such as com pany em ails of Robert Shapiro and

    W oodbridge's Controller. A fter obtaining an order requiring production,the Com m ission w as

    forced to m ove forcontem ptasW oodbridge continued to failto produce the em ails.

                  On October 31,2017,the Comm ission broughta second subpoena enforcement

    action in thisDistrict(Case No.17-mc-23986-Huck/M cAliley) against235 Limited Liability
    Companies(:6235 LLCs'')aftiliatedwith W oodbridgeand Shapiro aflerthe235 LLCSfailed to
    produce documentsrequired undertheCom mission'sAugust 16 and 17,20l7 subpoenas,which

    soughtinform ation related to theirownership structure and paymentspurportedly madeby them

    to W oodbridge. M any ofthe 235 LLCS subjectto the Commission's subpoena enforcement
    action are nam ed asD efendantshere.
           36.    Since 2015,regulators in eight states have filed civil or administrative actions

    againstone ormore ofthe Corporate Defendantsand certain oftheir sales agents alleging they



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    haveengaged intheunzegistered offering ofsecuritiesin theirrespectivejurisdictionsand have
    tm law fully acted as unregistered investm ent advisors or broker-dealers.          Five states,

    M assachusetts, Texas, A rizona, Pennsylvania, and M ichigan, have entered tem porary or

    perm anent cease and desist orders against one or m ore of the Corporate Defendants related to

    their unregistered sale ofsecurities.

        lV . C H A PTER 11 RE STR U CTU R IN G BA NK R U PTC Y FILIN G

           37.     On December4,2017,the Proposed CorporateDefendants(exceptRS Trustand
    the non-bankruptcy filing Shapiro H olding Com panies and Shapiro Property LLCS as identified

    in Appendix A) voluntarily filed for Chapter 1l banltzuptcy,ln re Woodbridge Group of
    CompaniesLLC,eta1.,CaseNo.17-12560Uointlyadministered)tBarlkr.D.Del.Dec.4,20l7).
    The bankruptcy debtors have notacknow ledged their fraudulentactivities,butrathercontinue to

    operate as before the filing and disingenuously seek to reorganize theiroperationsw ith a plalzto

    em erge from the bankruptcy as a viable com pany w ith Shapiro atthe helm .

        V . JUR ISDIC TIO N A N D VEN UE

           38. ThisCourthasjurisdiction overthisaction pursuantto Sections20(b),20(d)and
    22(a)ofthe SecuritiesActg15 U.S.C.jj 77t(b),77t(d)and 77v(a)j;and Sections21(d),21(e)
    and 27(a)oftheExchangeAct(15U.S.C.jj78u(d),7#u(e)and78aa(a)J.
                   ThisCoul'thaspersonaljurisdiction overtheDefendantsand venue isproperin
    the Southern D istrict of Florida for several reasons. W oodbridge m aintains an office in Boca

    Raton. ln addition,W oodbridge raised atleast$114 million from approximately 700 investors
    residing in this district. W oodbridge also paid over $12 million in transaction-based
    comm issionsto 20 salesagentslocatèd in this district. Priorto 20l6,W oodbridge operated as

    W SF,and washeadquartered in Boca R aton,Florida.


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                    In connection w ith the conductalleged in the Com plaint,Defendants,directly and

    indirectly, singly or in concert w ith others, m ade use of the m eans or instrum entalities of

    interstate com m erce, the m eans or instrum ents of transportation or com m unication in the

    interstate com m erce,and ofthe m ails.

       V l. O VER V IEW O F W O O D BR ID G E 'S FR A UD U LEN T B USIN E SS

                    Beginning in July 2012 through at least D ecem ber 4, 2017, Shapiro and the

    Corporate Defendants orchestrated a m assive Ponzischeme raising in excess of $1.22 billion
    from over 8,400 nationw ide investors. A t least 2,600 of these investors used their lndividual

    Retirem entAccountfundsto investnearly $400m illion.

           42. W oodbridge sold investors two primary types of securities: (l) a twelve-to-
    eighteen m onth term prom issory note bearing 5% -8% interestthatW oodbridge described as First

    Position CommercialM ortgages (ESFPCM lnvestment''and ECFPCM Investors'),and (2)seven
    differentprivate placementfund offerings with five-yeartel'ms(CûFund Offerings''and ûûFund
    lnvestors'').
           43.      The purported revenue source enabling W oodbridge to m ake the paym ents to

    FPCM lnvestors w as the interest a W oodbridge affiliate w ould be receiving from m ainly one-

    yearloanstosupposedthird-pal'
                                tycommercialpropertyowners(iç-
                                                             fhird-partyBorrowersn').
           44.      W oodbridge told investors that these Third-party Borrowers w ere paying the

    èom pany 11-15% amzual interest for Cthard m oney,.
                                                      '' short-tenzl tinancing. A s an additional

    source ofrevenue,W oodbridge told Fund lnvestors thatitw ould purchase properties to develop

    and sellfora protit.

           45.      W oodbridge em ployed a sales team ofapproxim ately 30 in-house em ployees that

    operated w ithin W oodbridge's offices. W oodbridge also utilized a network of hundreds of


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   externalsales agents to solicitinvestments from the generalpublic by way oftelevision,radio,

   and new spaperadvertisements,cold calling cam paigns,socialmedia,websites,sem inars,and in-

   person presentations.
           46.    Although virtually none ofthese salesagentswere registered with any regulatory

   agency,W oodbridge paid them more than $64.5 m illion in transaction-based compensation in

   the form ofcom m issions forselling investm ents in W oodbridge securities.

                  ln reality,W oodbridge'sbusinessmodelwasa sham- the vastmajority ofthe
   purported Third-party Borrow ers w ere hundreds of Shapiro ow ned and controlled LLCS,which

   had no source of incom e,no bank accounts,and neverm ade any loan paym ents to W oodbridge,

   al1facts W oodbridge and Shapiro concealed from investors. Rather,Shapiro and W oodbridge

    continued its ruse forthe past severalyears by supporting its business operations nearly entirely

    by raising andusing new investorfunds,in classicPonzischem efashion.

           48.     For example, although W oodbridge raised at least $1.22 billion dollars from

    FPCM and Fund Investors,itissued only approxim ately $675 m illion in ûtloans''. Ratherthan

    generating the 11-15% interestasprom ised,the loansgenerated only $13.7 million from Third-
    Party Borrowers,significantly less than required to operate W oodbridge's business and pay

    returns to investors. D espite this significant shortfall, W oodbridge paid investors m ore than

    $368 m illion in interest,dividends,and principalrepayments. W oodbridge spentanother $172

    m illion on operatingexpenses,and $21.2m illion to supportShapiro'sextravagantlifestyle.
                   To keep the fraudulent operation afloat,and because Shapiro's Propel'ty LLC 'S

    w ere not m aking any of the prom ised interest paym ents and W oodbridge's other revenue w as

    m inim al,W oodbridge and Shapiro required a continuous infusion of new investor funds and




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   needed existing FPCM lnvestors to rollovertheirinvestmentinto a new note atthe end ofthe

   term ,so as to avoid having to com e up w ith the cash to repay the principal.

                  Finally,on Decem ber 1,2017,after amassing m ore than $1.22 billion dollars of
   investormoney,with m orethan $961 million in principalstilldue to investors,W oodbridge and
   Shapiro m issed their first interest paym ents to investors after purportedly ceasing their

   fundraising activities.W ithoutthe infusion ofnew investorfunds,justdayslater,on December
   4,2017,Shapiro caused m ostofhis com panies to be placed in Chapter 11 Bankruptcy.


                                A . W oodbridee'sFlaw ed Business M odel

                  W oodbridge was the principaloperating com pany of Shapiro's businesses and

   em ployed approxim ately 140 people in offices in six states. This isa chartofthe basic corporate

   structure ofShapiro's entities:




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           52.     Since itsinception,W oodbridge was wholly-owned by Shapiro,who m aintained

    sole operationalcontrolover W oodbridge and each ofits aftiliates.

                   W oodbridge's seven private placem ent Fund O fferings w ere m anaged by its

    affiliateW M F,anotherShapiro owned and controlled com pany.

           54.     W oodbridge solicited the general public to invest in its securities offerings

    through its website, telem arketing, point-and-click internet ads, social media, direct m ail,

    sem inars,and in-person group sales presentations.

           55.     N one ofthe securities sold by Shapiro w ere registered w ith the Com m ission,nor

    w as W oodbridge,W SF,W M F,orany ofthe W oodbridge affiliates.

           i.      W oodbridee's Fundraisinz A ctivities -FPCM Securities and Fund O fferines

           56.     W oodbridge's FPCM investm ent business m odel w as to borrow m oney from

    investorsandin exchangeissuetheFPCM Investorapromissorynote(<IFPCM Note'')maturing
    intwelve(orsometimesup to eighteen)months,bearinganannualinterestrateof5-824,payable
    m onthly. The FPCM N ote w as issued by either Fund 1,Fund 2, Fund 3,Fund 3A ,Fund 4,

    BridgeLoan Fund 1,orBridgeLoan Fund2 (CsFund Entity''orcollectively referencedasSiFund

    Entities'').
           57.     W oodbridge represented thatthe FPCM lnvestm entw as a ttsim ple,saferand m ore

    secured opportunity for individuals to achieve their tinancialobjectives.'' W oodbridge told
    investors thatitw asm aking short-term ,high interestrate loansto Third-party Borrowers,which

    would besecured byrealestate.
           58.     These Third-pal'ty Borrow ers, W oodbridge claim ed, were bona-tide com m ercial

    property owners that could not obtain traditional loans and were willing to pay W oodbridge

    higherinterestratesforshort-term financing.


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                  W oodbridge provided FPCM Investors three primary documents'
                                                                             . (l) a

   promissory note, (2) collateral assignment of note and mortgage,and (3) an inter-creditor
   agreem ent. Each ofthese docum entscreated the illusion ofa legitim ate business.

           60.    W oodbridgeprom ised FPCM lnvestorsa pro-rata firstposition lien interestin the

   underlying property and told them that their retunzs would be generated by interest paym ents

   m ade by the Third-party B orrowers.
           61.    W oodbridge represented thatthe Fund Entity would in turn poolm oney received

   from m any FPCM lnvestors and lend those funds to a Third-party Borrow er for one-tw o years

   and for up to only 60-70% ofthe value of the real estate securing the transaction ensuring that

   theûtpropertiesthatsectlre themortgagesareworth considerably m ore than the loansthemselves

   atclosing.''
           62.    Atthe sam e tim e itw as soliciting FPCM lnvestors,W oodbridge offered a second

   type of security offering,the Fund Offering,to investors through Funds 1,2,3,3A ,and 4,and

   Bridge Loan Funds 1 and 2,pursuant to purported exem ptions from registration under Rules

    506(b)and (c)ofRegulation D oftheSecuritiesAct,collectively seeking to raise atleast$435
    m illion from investors.
           63.     W oodbridge, in an attem pt to avoid registration of its seeurities w ith the

    Com m ission, purportedly lim ited each of the Fund O fferings to accredited investors w ith a

    $50,000 minimum subscription and provided for a five-yeartenn with a 6% to 10% aggregate
    annualreturn paid monthly to Fund lnvestorsand a 2% Skaccrued preferred dividend''to be paid

    atthe end ofthe tive-yeartenn and ashareof(tprofits''.

                   In the offering m em oranda for the Fund O fferings,W oodbridge represented to

    Fund Investors that their funds w ould be used for real estate acquisitions and investm ents,


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    notably including W oodbridge'sFPCM S. The Fund Offerings,in effect,were investm ents into

    pooled FPCM S. M any ofthese pools contained 40 orm ore investors.

           65.     The loans to Third-party Borrowers typically ranged in amounts between $1

    m illion and $90 million,depending on the valueoftheThird-party Borrowers'property.
                   W oodbridge told investors that it conducted al1 due diligence including title

    search and appraisalon the com mercialproperty and borrower. The investors did nothave any

    role in selecting or analyzing the underlying properties.

           67.     Shapiro identified the properties underlying the investm ents,approved every real

    estatepurchase,and selected the amountand type ofinvestmentssold.

           68.     ln addition,the expected profitability ofthe investm ents,as wellasthe prom ise to

    pay retum s, were derived solely from the efforts of Shapiro and W oodbridge. Once investors

    provided their funds to W oodbridge,they had no controlover how Shapiro and W oodbridge

    used theirm oney.
           69.     Atthe end ofthe one-year term ,the Third-party Borrow er was obligated to repay

    W oodbridge theprincipalamountofthe loan and ifitdefaulted,W oodbridge could foreclose on

    the property to recoverthe am ountow ed.

                   The transaction betw een the Fund Entity and the Third-party Borrow er w as

    documentedwith apromissorynoteCTund Note'')between theFund Entity andtheThird-party
    Bonower,aswella mortgagein favoroftheFund Entity. TheFundN ote carried an interestrate

    equalto usually 11% butsom etim esashigh as 15% perannum .

                   Therefore, if the Fund Entity loaned m oney to a Third-pal'
                                                                             ty Borrow er at

    interest, but borrowed m oney from the FPCM lnvestor at 5% interest, then the spread or




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    difference in rate of6% w as incom e available to the Fund Entity and W oodbridge thatthey could

    use to pay expenses including operating expensesand salescom m issions.

            72.    Each Fund O ffering m em oranda provided that the com pany was reserving

    betw een 5% and 8% of the total am ount raised for com m issions to Cûlicensed broker/dealers.''

    Shapiro determ ined sales agents'com m issions.

            73.    W oodbridge's in-house sales tenm ofapproxim ately 30 sales agents,led by H ead

    of Sales ICDR ,'' w as responsible for soliciting Fund Investors. These sales agents received

    transaction-based com pensation forsalesofFund O fferings.

                   Shapiro hand-signed thousands of checks to investors and sales agents. In fact,

    Shapiro controlled W oodbridge's bank accounts and w as the sole signer on allof W oodbridge

    and itsaffiliates'bank accounts.

           1:.     M arketine M aterialsC laim ed Safetv ofInvestm ent

                   ln num erous m arketing m aterials sentto FPCM Investors,W oodbridge described

    this investm entas ttlow risk ''ûisim pler,''iksafe''and ûtconservative''and thatinvestorretul'
                                                                                                  ns w ere

    generated by the Third-pal'ty Borrow ers'interestpaym ents.

            76.    For exam ple, W oodbridge w rote in m arketing m aterials that GsW oodbridge

    receives the m ortgage paym ents directly from the borrower,and W oodbridge in turn delivers the

    loan paym entsto you underyou.
                                 rfirstposition docum ents.'' A s discussed below ,thisw as a lie.

            77.    W oodbridge w enton to representto investors thathaving a ûûfirst-position''m eans

    tûyou have priority overany otherliensor claim s on a property ifthe property ownerdefaults. It

   putsyou in control.''

            78.    W oodbridge further reassured investors, telling them not to w orry about the

    borrow er not m aking their loans paym ents because W oodbridge would continue to pay the


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   investortheirinterestpayments.Forexample,in aFrequently Asked Questionbrochureforthe
   FPCM product,W oodbridge stated the following:

                  Q'
                   .       lfthe borrow erdoesnotm ake theirpaym entsto W oodbridge w ill1
          be inform edg.
                         This question is actually irrelevant, because W oodbridge would
          continue to m ake monthly paym entsto you ...and may orm ay notinform you of
          the underlying non-paym ent. As long as W oodbridge continues to make regular
          paymentstoyou,therewould beno reason to beconcerned

   These statem entsw ere m aterially m isleading. In fact,virtually no Third-party Borrow ersw ould

   be m aking paym ents to W oodbridge,w hich m ade paym ents to investors notthrough earnings,

   butby continuous new investorfunds and rollovers. The schem e'scollapse w as only a m atterof

   tim e, and investors had every lûreason to be concerned.'' W oodbridge and Shapiro disclosed

   none ofthisto investors.

                                         B . FraudulentC onduct

                W oodbridee W asa PonziSchem e O rchestrated bv Shapiro and H isE ntities

          79.     Overall,betw een July 2012 and D ecem ber 2017,W oodbridge and Shapiro raised

   over$1.22 billion from m orethan 8,400 FPCM lnvestorsandFund lnvestors.
          #0.     During thistime,W oodbridge collected only about$13.7 million in interestfrom
   Third-party Borrow ers. Y et during this tim e fram e, W oodbridge, using investor funds, paid

   m ore than $103 m illion in m onthly interestto FPCM Investorsand dividendsto Fund lnvestors,

   and another$265 m illion to repay principalto investors. The am ountofprincipalrem aining due
   to FPCM lnvestorsand Fund lnvestorsexceeds$961m illion.
          8l.     W oodbridge also spent another $l72 m illion of investor funds on operating

   expenses,including $64.5 m illion on salesagentcomm issionsand $44 million on payroll.




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           82.     M oreover,W oodbridge and Shapiro pooled FPCM lnvestors'and Fund lnvestors'

    investm entftmdsinto Ftmd Entity bank accountsand then furthercom mingled them into asingle

    W oodbridge or W SF operating account under Shapiro's control. The com m ingling w as

   extensive and resulted in transfers totaling approximately $1.66 billion and exceeded 10,700

   transactions.

           83.     W M F also participated in the schem e by m anaging the various Fund offerings,

    including com m ingling a1l investor proceeds into one operating account and paying returns to

    investors using investorproceeds.

           84.     lnstead of issuing loans to unaffiliated Third-party Borrow ers in arm s-length

    transactions, W oodbridge and Shapiro used FPCM lnvestors' and Fund lnvestors' funds to

   purchase alm ost 200 residential and com m ercial properties located prim arily in Los Angeles,

    California and A spen, Colorado, and placed title to those property in the nam e of one of the

    Shapiro Property LLCS,which w ere ultim ately ow ned by Shapiro through RS Trust.

           85.     In order to docum ent the fraudulent transaction, the Fund Entity issued

    prom issory notes,thaton theirface,indicated a purported loan wasbeing made from one ofthe

    Fund O fferings to a Third-party Borrower. These notes prom ised that the particular Shapiro

    Property LLC as the Third-party Borrow er w ould pay interest to the Fund Entity loaning it

    m oney. How ever,as Shapiro knew at the tim e he signed the note,the Shapiro Property LLC

    could notand would not m ake the promised loan payments because it lacked any source of

    revenue,a factnotdisclosed to investors.

           86.     Beginning in Decem ber 2013,w hen Fund 2 w as form ed,and subsequently with

    Funds 3,3A ,and 4,the am ountoffunds loaned to entities afx liated w ith Shapiro w as in excess

    of70% --and ashigh as 98% --ofW oodbridge's overallloan portfolio.
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                  The purported Third-party Borrowers made m inimalinterestpayments,and thus

    paym ents to the FPCM Investors and Fund Investors were alm ostexclusively from funds

    W oodbridge received from other investors, in classic Ponzi schem e fashion. Shapiro and

    W oodbridge concealed these fads from investors.

           li. W oodbridee'sSalesT eam Perpetuated the Fraud atShapiro's Behest

           88.    A s a result of the Shapiro Borrow ers' lack of revenue and failure to m ake any

    interestpaym ents,W oodbridge and Shapiro required the continuous infusion ofnew funds from

    investorsin orderto keep the schem e afloat.

           89.    W oodbridge did not evaluate whether the FPCM investors w ere (tsophisticated,''

    tûaccredited'' or otherwise had any particular financial acum en. lndeed, instructions from a

    com pany providing W oodbridge with leads on potentialinvestors rem arked thatleads follow ed

    up within 20 minutesofgeneration are ttwhere yoursalesteam willfind the majority oflow
    hanging,easiestto harvestfruit.''

                  W oodbridge could not afford to returlz investors their principal investm ents,so

    when FPCM Notes cam e due,W oodbridge and Shapiro soughtextensionsand re-enrollmentof

    FPCM investors atthe end of their term s, and sought to m ove FPCM lnvestors into the longer

    five-yeartenn Fund O fferings. W oodbridge aggressively sought to avoid investors cashing out

    atthe end of theirtenns and in facttouted achieving a 90% re-enrollm entrate. ln m arketing

    materials W oodbridge boasted ttclients keep coming back to gW oodbridgejbecause time and
    experience have proven results. Over 90% nationalrenew alratel''

           91.    ln oralsales presentations,m arketing m aterials provided to prospective investors,

    advertisem ents and on its w ebsite, W oodbridge and Shapiro m ade m aterially false and




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   m isleading statements to induce prospective investors to invest in the FPCA4S and Fund

   Offerings.

                  In onerecorded phonecall,aW oodbridgeinternalsalesman falsely represented to

   a prospective investor that W oodbridge is ktlending and not purchasing the properties.'' The

   salesm an further told the investor that the equity in the property kdprotects us from a property

   owner defaulting''w hile om itting the m aterial fact thatthe propel'ty owner w as a W oodbridge

   aftiliate w hich w ould notbe m aking any interestpaym ents on the ççloan''.
          93.     The Fund Offering and FPCM Offering sales m aterials included a host of

   m isstatem ents m eant to entice investorsto ûtsafe''and ûtsecured''offerings w ith returns generated

   by Third-party Borrow ers' interest paym ents. These m isrepresentations had the effect of

   concealing the true nature of W oodbridge's business- a large-scale Ponzi schem e using only

   new investorfundsasthe source ofexisting investors'returns.
           94.    D R,the H ead of Sales,reported directly to Shapiro,w ho called for daily sales

    updates from D R . Shapiro dem anded thatD R and the W oodbridge sales team continuously seek

    to tûm ove your loan from the FirstPosition M ortgage ...even if yourterm hasn'texpired yet-

    to our higher-return M ortgage lnvestment Fund.'' W oodbridge threatened to term inate its

    relationship with extenzalsales agents who would notpermit W oodbridge to contactthe sales

    agents'clients aboutm oving from the FPCM to the longertenn Fund O fferings.

           95.    Shapiro provided frequent,often daily,requirementsto DR ofthe number(itwe
    needtoraise45million inthenext39days.'')andtype($tIneed$5millionin Fundlnvestorslin
    thenext2weeks'')ofsecuritiesthatneededtobesold.
           96.    To ensure com pliance w ith these dem ands, Shapiro w ould either threaten his

    em ployeeswith term ination orpromisebonuses.


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           97.     DR raised FPCM fundseven when W oodbridge had no inventory ofavailablereal

    estate properties. Forexample,M arch 4,2016,DR celebrated with W oodbridge's sales team

    that ûueven without being able to fund due to lack of inventory we funded over 37 m illion in

    (FPCM SJand 6 million in gFund Offeringsj!!!!!!! By farourbiggestmonth to date!!!!!''and
    congratulated W oodbridge'ssalesteam ,stating CtW E ARE W IN NERS!!!!''

           98.     W oodbridge retained salescomm issions forthe sale oftheirinvestm entproducts

    (5% -8% ofthe totalamountraised)and paid theirlargely unregistered salesagentemployees
    transaction-based com m issions.

           99.     Shapiro was also notified whenever an investor chose to withdraw their funds

    from W oodbridge. He also personally solicited bridge loans from w ealthy individuals to cover

    gaps in the com pany's funding as needed. These loans represented tens of m illions of dollars

    and were repaid in shorttim e fram esonce investorfunds w ere available.

           l00. W oodbridge also recruited a network of several hundred external, m ostly

    unregistered,sales agents. W oodbridge provided the sales agentsw ith the infonnation and sales

    m aterials that the external sales agents gave to FPCM lnvestors. Every piece of sales m aterial

    required W oodbridge'sapproval.

           101. The externalsales agents solicited the generalpublic through m arketing m aterials

    created, and in m any cases, paid for by W oodbridge, w hich the extem al sales agents

    dissem inated via television com m ercials,radio ads and talk shows,new spaperads,socialm edia,

    new sletters and internetw ebsites.

            102. W oodbridge supplied the external sales agents a sales packet to provide each

    prospective FPCM InvestorthatconGined a one-page description ofthekey term softhe FPCM ,

    a listofFAQS,and perfunctol'y examplesofthecollateralproperties. W oodbridgealso posted
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   these docum ents online and instructed external sales agents to direct their clients to the

   com pany's website to view them .

                 W oodbridge'sm arketing m aterialsincluded agraphicthatsum marized the FPCM

   lnvestm entas follow s;

                             N ow is the tim e to
                             f
                             Wo
                              er
                               ea?
                                 to
                                  h-obl
                                      u
                                      di
                                       -
                                       ld
                                        f:ln
                                           sg
                                            hion
                                              sol
                                                eudtions               .


                             W oodbridge W eaIth w ants to help you
                             diversify yourportfolio by participating in
                             the realestate revolution.W hatdoes
                             thatIook like?



                                        $                     $
                                              o..
                                                .        vo

                                                FirstIien
                                               as security




                             Letus help you protectyourretirem ent
                             funds from m arketvolatility.W e succeed
                             w hen you succeed.It's thatsim ple.


                 ln reality,the claim ed interestpaym ents from the purported third-party tiproperty

   owner''(Circle3)to W oodbridge(Circle2)didnotexist. Paym entsto the FPCM lnvestorsand
   Fund Investors derived alm ost exclusively from funds W oodbridge received from other

   investors.

          105. W oodbridge further lied to investors in m arketing m aterials when itclaimed it

   ttreceives the m ortgage paym ents directly from the borrower,and W oodbridge in turn delivers

   the loan paym entsto you.''


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                  W oodbridge's training m anualincluded a sales scriptforits internalsalesagents

   to follow when offering the FPCM program to externalsales agents. The scriptreiterated the

   inform ation contained in the sales pacltet and on the w ebsite. Hence,to entice investors,these

   externalsalesagents,used a variety ofsalestechniquesand represented the investm entasbeing

   ûtlow risk7'' ûtsafe>''Elsim pler,'' and tûconservative.'' W hen they pitched the investm ents,sales

   agents repeated W oodbridge's lies that investor returns w ere generated by Third-party

   Borrow ers' interest paym ents. H ow ever, given the absence of revenue and W oodbridge's and

   Shapiro'sm isappropriation ofinvestorm oney,the investm entsw ere anything butsafe.

           107. To ensure its sales agents followed this script,W oodbridge m aintained an internal

   telephone recording system m onitored by quality assurance personnel who reported any

   inconsistencies to D R.
           108. W oodbridge offered its FPCM product to its external sales agents at a 9%

   wholesale rate,and the agents in turn offered the FPCM to their investor clients at 5% to 8%

   annualinterest the externalsalesagentreceived a com m ission equivalentto the difference.

           109. Overall, W oodbridge paid external sales agents at least $64.5 m illion in

    com m issionsthrough this arrangem ent.
                   M any oftheir salesagents were notassociated with registered broker-dealers or

    investment advisory tirm s. Several of these sales agents, including some of the highest

    producers,had been censured orbarred by the Com m ission,FIN R A orstate securitiesregulators.

    W oodbridge did notdisclose this to investors.
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          iii.     M isuse and M isappropriation oflnvestor Funds

                   Instead of investing their ftm ds as prom ised,W oodbridge and Shapiro m isused

   and misappropriated hundreds of millions of dollars thatFund lnvestors and FPCM lnvestors

   entrusted to them .
                   A lthough W oodbridge,through the Shapiro Property LLCS,purchased alm ost200

   propertiesin and around Aspen and LosAngeles forapproxim ately $675 million,the com pany
   has generated nom inalnet proceeds. M any of the properties W oodbridge purchased rem ain as

   vacantlotsthathave satundeveloped for severalyears.
                    ln the m eantim e, Shapiro treated him self to an exorbitant lifestyle, at the

   investors'expense.
          114. Shapiro m isappropriated atleast$21.2 million forhisown personalbenefitand to

   benefithisrelated entitiesorfam ily mem bers. Forexample,Shapiro charged atleast$9 m illion
   dollarson creditcardswhich werepaid fornearly entirely by oneorm oreW oodbridge entity. ln

   fact,about99% ofthe paym entsm ade tow ard those creditcardsw ere derived from W oodbridge.

           115. Shapiro charged personal item s, including extravagant travel expenses, luxury

    brand item s,and fum ishings.Forexample,Shapiro used investorfundson the following:

                 @ $200,000 atFourSeasonsHotelsand RitzCarlton Hotels.

                 * $34,000 on limousine services.

                 @ $1.6 m illion on hom efurnishings.
                    $1.4 m illion on luxury retailpurchaseslikeLouisVuittonand Chanel.

                    $700,000on mealsand entel-tainm ent

                 . $600,000 on politicalcontributions.

                 . $400,000onjewelry
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               @ $308,000 on wine.
           116. ln addition to the creditcard charges,Shapiro spentadditionalinvestorfundsas

    follows:

               * $3.1m illion to charterprivateplanes.

               @ $1.2 m illion in alimony to hisex-wife.

               . $340,000 in luxury automobiles.

               * $130,000 on cotmtryclub fees.
                   W oodbridge and Shapiro also paid nearly $1 m illion to a rare coin and precious

   m etalfirm ,purportedly forclientgifts.

           118. Shapiro's w ife, Jeri Shapiro, and her com pany Schwartz M edia, also received

    substantial benefits from the use of investor funds. Jeri Shapiro ow ns and/or controls certain

    Shapiro Property LLCS in possession of real property and other assets purchased with investor

    funds. Jeri Shapiro is a beneficiary of R S Trust, w hich holds title to over 140 properties

    purchased with investor funds. In addition, Jeri Shapiro and her com pany Schw artz M edia,

    w ithout a legitim ate basis, received investors' proceeds em anating from the Defendants'

    securities fraud.

           119. A nother of Shapiro's com panies, W oodbridge Realty, acted as the real estate

    brokerage firm responsible for purchasing and selling the Colorado real property ow ned by

    several of the Shapiro Property LLCS. W hen W oodbridge bought or sold properties,

    W oodbridgeRealty received asalescommission. Similarly,M ercerVine,acompany majority
    owned by Shapiro and m anaged by him , is a real estate brokerage firm responsible for

    purchasing,developing and selling the California realproperty owned by severalofthe Shapiro

    Propel'ty LLCS. M ercer V ine sim ilarly received sales com m issions as a resultof the realestate


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   transactions. Therefore,Shapiro lined his pockets with investor funds by receiving portions of

   these salescom m issions.
           120. Riverdale isanotherW oodbridge company controlled by Shapiro which engaged

    in thebusinessofproviding hard-money loansto third-party clientsand servicingthoseloans. lt

    too received m illions of dollars from W oodbridge during the relevanttim e fram e of the Ponzi

    schem e,w ithoutalzy legitim ate basis.

           121. W FS wasformedjusta few months ago in September 2017 and isowned and
    managed by Shapiro. On the eve of its bankruptcy filing,W oodbridge retained Shapiro as a

    consultantto thecompany atthemonthly rate of$175,000 paid to W FS. Shapiro,through W FS,
    hasbeen paid atleast$175,000 thusfar.W ithoutany legitim atebasis,W FS received investors'

    proceeds em anating from the D efendants'securitiesfraud.

           iv.     lnternalB ooltkeepine Svstem lndicative ofPonziSchem e

                   W oodbridge used a bookkeeping system w holly inconsistent with its m assive

    fundraising activities and w hich was indicative ofits Ponzioperation.

            123. W oodbridge did notretain externalauditors and used an internalbookkeeping

    system m anaged by NP,itsController,who isnota CPA .NP operated from a satellite officein

    Daytona Beach, Florida, where she m aintained the com pany's financial records w ith daily

    instructionsfrom Shapiro.
                   NP provided Shapiro daily notitications ofthe com pany'sincome and expenses

    and provided him a m onthly report showing the com pany's revenue and interest paym ents to

    investors.




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           125. The various W oodbridge entities maintained their accounting generalledgers in

    theaccountingsoftwareQuickBooks.W oodbridge'sand theFundEntities'QuickBooksrecords
    did notaccurately reflectW oodbridge'sbusinessoperations.

                  Forexample,the QuickBooksretlectinterestpaymentsto Fund Entitiestotaling
    approximately $93 m illion. However,ofthatfigure,only about$13 million represents actual

    cash payments ofinterestby third parties. The balance of$80 m illion representsintercompany

    receivables created when the Shapiro Property LLCS failed (inevitably) to make interest
    paym entsw hen due.

           127. ln addition,the Fund Entitiesrecorded assetsduplicative ofW oodbridge'sassets,

    potentially overstating assets by at least $790 million. For example, as of April 2017,
    W oodridgerecordedmortgagesand realestateinvestmentsin QuickBooksasbeingalmost$l.4
    billion,when in reality W oodbridge's mortgages and realestate investm entstotaled about$592

    m illion through A pril2017.

           128. ln emailconversations,Shapiro and DR discusshow to manipulate W oodbridge's

    recordsto show W oodbridge's supposed tûprotits''from certain property developm ent.

           129. Despite creating the illusion of a profitable real estate developm ent business,

    W oodbridge's revenue from developm ent activity was nom inal and w oefully inadequate to

    satisfy itsever-increasing obligationsto itsinvestors.

           v. Shapiro's W eb ofLim ited L iabilitv EntitiesEnzaeed in a Schem e to D efraud

                   The Shapiro Propel'ty LLCS and R S Trust also engaged in a schem e to defraud

    investors. Shapiro created a w eb ofm ore than 100 Shapiro Property LLCS and m ore than 100

    con-esponding like-titled Shapiro Holding LLCSin orderto purchase,and hold title to,properties

    he controlled,financed 100% by investorfunds from the FPCM and Fund Offerings. The end


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    beneficiary of the fraud being Shapiro and RS Trust, the vehicle used to ultimately hide

    Shapiro'sbeneficialtitle ownership ot-theproperties.

                  W M F also participated in the schem e by m anaging the various Fund offerings,

    including com m ingling allinvestor proceeds into one operating accountand paying returns to

    investorsusing investorproceeds.

           vi. Shapiro and R S TrustC oncealed Thcir O w nership ofProperties

                  Shapiro and R S Tzustm ade every effort to hide the fact thatm ost ofthe Third-

    Pal'ty Borrow ers and ow nersofthe underlying propertiesw ere Shapiro and hisfam ily.

           133.     Shapiro owns the real estate properties through the Shapiro Property LLCS,

    which are managed by Shapiro Holding LLCS,whose mem berisRS Trust,and whose trustee is

    Shapiro. N one ofthe publicly available docum entation indicated thatR S Trustw as the ultim ate

    owner of the underlying properties thathad been purchased with FPCM Investors'and Fund

    Investors'funds. These investorswere nottold thatthevastmajority ofloanswere made to
    ShapiroPropel'tyLLCS(whohadnorevenue),entitiesShapirocontrolledthroughRSTrust.
                  A s early as 2014, Shapiro w as presented the opportunity to disclose his

    m em bership interestin Lim ited Liability form ation docum ents. lnstead,Shapiro refused and had

    a high ranking W oodbridge em ployee instruct W oodbridge's Registered A gent to not include

    any m em ber/m anager inform ation,allow ing Shapiro's ownership interestto rem ain hidden.

                   G iven thatthe corporate tilings w ere predom inantly in D elaw are,w ith extrem ely

    lim ited public inform ation,the Com m ission w as forced to subpoena overtw o-hundred individual

    LLCScontrolled by Shapiro seekingunderlying fonnation documents,and then wasforced to file

    a subpoena enforcem ent acticm in districtcourtto obtain these docum ents w hen neither Shapiro

    northe LLCS responded to those subpoenas.


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           vii.V iolations of State C ease and D esistO rders and Attem pts to M anipulate Public
               Perception

           136. Five states, Texas, M assachusetts, A rizona, Pennsylvania, and M ichigan, have

   issued cease and desistorders againstone ormore ofthe Corporate Defendants based on their

   ulzregistered sale of securities. W oodbridge nonetheless continued to sell their investment

   products to residents of those states. For exam ple W oodbridge accepted the follow ing FPCM

   investm ents subsequentto the datesofthe cease and desistorders:

               . $3.2 m illion from atleast11M assachusettsinvestors.

               * $2.3 m illion from atleast25 Texasinvestors.

               . $900,000from atleast13Arizonainvestors.

               * $2.6m illion from atleast31Pennsylvaniainvestors.
           137. W oodbridge and Shapiro engaged in deceptive conductw ith respectto the m any

   other pending state regulatory ad ions against W oodbridge for its sale of unregistered securities.

    Shapiro instructed D R to aftirm atively withhold thisinform ation tiom investorsand to ûtonly tell

    investors ifthey ask.''
           l38. W oodbridge's sales agents falsely m ischaraeterized the dispositions of these

    regulatory actions to external sales agents claim ing that the com pany ûcw as exonerated of any

    wrongdoing orfraudulentactivity''when no such detenuination wasactually made.

                    Shapiro also hired a public relations firm to m anipulate search engine results so

    that investors that looked up W oodbridge w ould notsee the state regulatory orders filed against

    the com pany.

           140. Additionally, at Shapiro's specific instruction, W oodbridge m ade a series of

    negligible charitable donations with the sole purpose of generating a stream of positive press



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   releasesto push these regulatory actions offthe frontpage ofinternetsearch results relating to

   the com pany.

                    M ore recently,W oodbridge had begun transitioning investors into a new product

   called a Co-Lending Opportunity CtCLO''). The CLO mirrors the FPCM in every material
   respect save one- the CLO 's tel'm is for 9 m onths. In em ailcom m unications,Shapiro and D R

   contended thatthis smallchange ensured thatthe CLO wasnota security and thatW oodbridge

   could circum vent the states'regulatory agencies. lnstead of seeking state regulators' opinion

   abouttheCLO,Shapiro and DR planned to Etswitch firstthen settlequietly gwith Colorado and

   Californial-''
                                       V II.CLA IM S FO R R ELIEF

                                                COUNT I

                          Violation,ofSections5fa)and S c)oftheSecuritiesAct
     (AtainstShapiro.W oodbridze.W M F,W SF.Fund 1.Fund 2.Fund 3.Fund 3A.Fund 4,
                       B ridee L oap-Fund 1.and BridzeLoan Fund 2)
                                   .             -




           142. The Com m ission repeatsand reallegesparagraphs 1 through 141 ofitsCom plaint.

           143. N o registration statem entw as tiled or in effectw ith the Com m ission pursuantto

   the SecuritiesActwith respectto the securitiesissued bytheDefendantssubjecttothiscountas
   described in this Complaint and no exem ption from registration existed with respectto these

    securities.

           144.     From July2012throughatleastDecember4,2017,theDefendantssubjecttothis
    countdirectly and indirectly:

                    (a)     m adeuse ofany m eansorinstrumentsoftransportation orcom munication
                            in interstate com m erce orofthe m ails to sellsecurities,through the use or
                            m edium ofa prospectusorotherwise'    ,
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                  (b)     carried orcausedto becanied securitiesthrough themailsorininterstate
                          com m erce,by any m eans or instrum ents oftransportation,forthe purpose
                          ofsaleordelivery aftersale;or

                  (c)     madeuseofanymeansorinstrumentsoftransportation orcommunication
                          in interstate comm erce or of the mails to offer to sell or offer to buy
                          through the use orm edium ofany prospectus orotherw ise any security,

   w ithouta registration statem ent having been filed or being in effect w ith the Com m ission as to

   such securities.

           145. By reason ofthe foregoing the Defendants subjectto this countviolated and,
   unless enjoined,are reasonably likely to continue to violate Sections 5(a) and 5(c) of the

    SecuritiesActg15U.S.C.jj77e(a)and77e(c)J.
                                              C O U N T 11

                VIOLATIONS OF SECTION 17(a)(1)OF THE SECURITIES ACT
    (AzainstShapiro.W oodbridze.RS Trust.W M F.W SF.Fund 1.Fund 2.Fund 3.Fund 3As                 --


          Fund 4.Bridee Loan Fund 1.Bridee Loan Fund 2.Shapiro Propertv L LCS.
                               and Shapiro H oldinz LLCS)

                  The Com m ission repeats and realleges Paragraphs 1 through 141 of this

    Com plaintas iffully setforth herein.

           147. From July2012 through atleastDecember4,20l7,theDefendantssubjectto this
    count,in the offer or sale of securities by use of the m eans or instrum ents oftransportation or

    com m unication in interstate com m erce or by use of the m ails,directly or indirectly,know ingly

    orrecklessly employed devices,schemesorartificesto defraud.

           148. By reason ofthe foregoing,the Defendants subjectto thiscount,directly and
    indirectlyhaveviolated,andunlessenjoined,arereasonablylikelytocontinuetoviolate,Section
    17(a)(1)oftheSecuritiesAct(15U.S.C.j77q(a)(1)1.
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                                              COUNT llI

                VIOLATIONS OF SECTION 17(a)(2)OF THE SECURITIES ACT
     (AzainstShapiro.W oodbridze.W SF.Fund 1.Fund 2,Fund 3.Fund 3A,Fund 4.Bridze             -      -


                          Loan Fund 1.and BridzeLoan Fund 2)

           149. The C om m ission repeats and realleges Paragraphs            tl
                                                                               zrough l41 of this

    Complaintasiffullysetfol'th herein.

           150. From July2012through atleastDecember4,2017,theDefendantssubjecttothis
    count,in the offer or sale of securities by use of the m eans or instrum ents of transportation or

    com m unication in interstate com m erce or by the use of the m ails, directly or indirectly

    negligently obtained m oney or property by m eans of untrue statem ents of m aterial facts or

    om issions to state m aterial facts necessary to m ake the statem ents m ade, in the light of the

    circum stancesunderwhich they w ere m ade,notm isleading.

                   By reason of the foregoing,the Defendantssubjectto this count diredly and
    indirectlyhaveviolated,andunlessenjoined,arereasonably likelytocontinuetoviolate,Section

    l7(a)(2)oftheSecuritiesActg15U.S.C.j77q(a)(2)j.
                                              C O U NT IV

                VIOLATIONS OF SECTION 17(a)(3)OF THE SECURITIES ACT
     (AzainstShapiro.W oodbridee.RS Trust.W M F.W SF.Fund 1.Fund 2.Fund 3.Fund 3A,
            Fund 4.Bridee Loan Fund 1.B ridae Loan Fund 2.Shapiro Property LLC S.
                                 and Shapiro H oldina LLCS)
            l52. The Com m ission repeats and realleges Paragraphs 1 tlzrough                    of this

    Com plaintas iff'
                    ully setforth herein.

                   From July2012 through atleastDecember4,2017,theDefendantssubjectto this
    count,in the offer or sale of securities by use ofthe meansor instruments oftransportation or
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    com m unication in interstate com m erce and by the use of the m ails, directly or indirectly

    negligently engaged in transactions,practices and coursesofbusinesswhich have operated,are

    now operating orw illoperate as a fraud ordeceitupon the purchasers.

           154. By reason ofthe foregoing,the Defendants subjectto thiscount,directly and
    indirectly,have violated,atld unless enjoined,are reasonably likely to continue to violate,
    Section 17(a)(3)oftheSecuritiesActg15U.S.C.j77q(a)(3)1.
                                             CO UN T V
      VIOLATIONS OF SECTION 10(b)AND RULE 10b-5(a)OF THE EXCHANGE ACT
    (AzainstShapiro.W oodbridze.RS Trust.W M F.W SF.Fund 1.Fund 2.Fund 3.Fund 3A.
            Fund 4.Bridte Loan Fund 1,Bridee Loan Fund 2.Shapiro Properw LLC S.
                                 and Shapiro HoldineLLCS)

           155. The Com m ission repeats and realleges Paragraphs 1 through               of this

    Com plaintas iffully setforth herein.

           156. From July2012through atleastDecember4,2017,theDefendantssubjectto this
    count,directly and indirectly,by use ofthe meansand instrum entalitiesofinterstate commerce,

    or of the m ails in connection with the purchase or sale of securities,knowingly or recklessly

    em ployed devices,schem es orartifices to defraud.

           157. By reason ofthe foregoing,the Defendants subjectto this count directly and
    indirectly,and have violated,and unlessenjoined,are reasonably likely to continueto violate,
    Section 10(b)oftheExchangeAct,15U.S.C.j78j(b),andRule l0b-5(a),17C.F.R.j240.l0b-

    5(a),thereunder.




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                                              COUNT Vl

      VIOLATIONS OF SECTION 10(b)AND RULE 10b-5(b)OF THE EXCHANGE ACT
     (AtainstShapiro.W oodbridze.W SF.Fund 1.Fund 2.Fund 3,Fund 3A.Fund 4.Bridae
                          Loan Fund 1.and Bridze Loan Fund 2)
              158. The Com m ission repeats and realleges Paragraphs 1 through l41 of this

   Com plaintasiffully setforth herein.

              159. From July 2012through atleastDecember4,2017,theDefendantssubjecttothis
    count,directly and indirectly,by use of the m eans and instrum entalities of interstate com m erce,

   or of the m ails in connection w ith the purchase or sale of securities,knowingly or recklessly

   m ade untnze statem ents of m aterialfacts or om itted to state m aterialfacts necessary in orderto

   m ake the statem ents m ade, in light of the circum stances under which they w ere m ade, not

   m isleading.

              160. By reason ofthe foregoing,the Defendants subjectto this countdirectly and
    indirectlyviolated,and unlessenjoined,isreasonablylikely tocontinueto violate,Section 10(b)
    of the Exchange Act, 15 U.S.C. j 78j(b), and Rule 10b-5(b), 17 C.F.R.j 240.10b-5(b),
   thereunder.

                                              C O U N T Vll

      VIOLATIONSOF SECTION 10(b)AND RULE 10b-5(c)OF THE EXCHANGE ACT
    tAeainstShapiro.W oodbridze.R S T rust.W M F.W SF.Fund 1sFund 2.Fund 3.Fund 3A .
          -                -                       -     -   -   -


              Fund 4.B ridze L oan Fund 1.Bridae Loan Fund 2.Shapiro Propertx L LCS.
                                      and Shapiro Holdinz LLCS)
              l61. The Com m ission repeats and realleges Paragraphs 1 through 14l of this

    Com plaintas iffully setforth herein.
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          162. From July 2012through atleastDecember4,2017,theDefendantssubjecttothis
   count,directly and indirectly,by use of the m eans and instrum entalities of interstate com m erce,

   or of the m ails in connection w ith the purchase or sale of securities, know ingly or recklessly

   engaged in acts,practices and courses of business which operated as a fraud upon the purchasers

   ofsuch securities.

                  By reason ofthe foregoing,the Defendants subjectto thiscount,directly and
   indirectlyhaveviolated,andunlessenjoined,arereasonablylikelytocontinuetoviolate,Section
    10(b)ofthe ExchangeAct,15 U.S.C.j 78j(b),and Rule 10b-5(c),17 C.F.R.j 240.10b-5(c),
   thereunder.

                                             CO UN T V H l

        SECTION 20(a)OF THE EXCHANGE ACT -CONTROL PERSON LIABILITY
       For W oodbridze.R S T rust.W M F.W SF.Fund 1.Fund 2.Fund 3.Fund 3A ,Fund 4.
              B ridze Loan Fund 1.Bridze L oan Fund 2.Shapiro Propertv LLC S.
                  and Shapiro H oldine L LCS'V iolations O fThe ExchaneeA ct
                          (AeainstShapiro and RS Protection Trust)

          164. The Com m ission repeats and realleges Paragraphs              through        of this

   Com plaintasiffully setfol'th herein.

          165. From July 2012 through atleastDecem ber 4,2017nShapiro and RS Trusthave

   been,directly orindirectly,controlpersonsofW oodbridge,RS Trust,W M F,W SF,Fund 1,Fund

   2,Fund 3,Fund 3A ,Fund 4,Bridge Loan Fund l,Bridge Loan Fund 2,Shapiro Property LLCS,

   and Shapiro Holding LLCS forpurposes of Section 20(a)ofthe Exchange Act,15 U.S.C.j

    78t(a).
          166. From July 2012 thzough at least D ecem ber 4, 2017, W oodbridge, RS Trust,

    W M F,W SF,Fund 1,Fund 2,Fund 3,Fund 3A ,Fund 4,Bridge Loan Fund 1,Bridge Loan Fund

    2,Shapiro Property LLCS,and Shapiro Holding LLCSviolated Section l0(b)and Rule 10b-5 of

                                                   38
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   the Exchange A ct.

           167. Ascontrolpersonsof W oodbridge,W M F,W SF,Fund 1,Fund 2,Fund 3,Fund

    3A ,Fund 4,Bridge Loan Fund 1,Bridge Loan Ftmd 2,Shapiro Property LLCS,and Shapiro

   HoldingLLCS,Shapiro andRSTrustarejointlyand severally liablewithandto thesameextent
    as W oodbridge,W M F,W SF,Fund 1,Fund 2,Fund 3,Fund 3A ,Fund 4,Bridge Loan Fund 1,

    Bridge Loan Vund 2, Shapiro Propel'ty LLCS,and Shapiro Holding LLCS for each of their

    violationsofSection 10(b)and Rule10b-5oftheExchangeAct.
           168. By reason of the foregoing, Shapiro and RS Protection Trust directly and

    indirectly have violated,and unless enjoined,are reasonably likely to continue to violate,
    Sections l0(b)and 20(a)andRule 10b-5 oftheExchangeAct,15 U.S.C.j 78j(b)and j 78t(a),
    and 17C.F.R.j240.10b-5.
                                               C O UN T IX

                  VIOLATIONS OF SECTION 15(a)OF THE EXCHANGE ACT
                                   tAeainstW oodbridteand W SF)

           169. The Com m ission repeats and realleges Paragraphs 1 through 141 of this

    Com plaintas iffully setforth herein.

           170. The Defendantssubjectto thiscountmade useofthemailsand othermeansor
    instrum entalities of interstate com m erce, to effect transactions in, or to induce or attem pt to

    induce the purchase or sale of securities,w ithout being associated w ith a broker or dealer that

    wasregistered with the Commission in accordancewith Section 15(b)ofthe ExchangeActg15

    U.S.C.j78o(b)1.




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                 By reason of the foregoing,the Defendants subjectto this countdirectly and
   indirectlyhaveviolated,andunlessenjoined,arereasonably likelytocontinuetoviolate,Section

   15(a)oftheExchangeAct(15U.S.C.j78o(a)j.
                                              CO U NT X
                          A ID IN G A N D A BETTIN G V IO LA TIO N S O F
                           SECTION 15(a)OF TH E EXCH ANGE ACT
                                          (AzainstShapiro)

          l72. The Com m ission repeats and reallegesparagraphs 1 through 14 1ofthiscom plaint

   asiffully restated herein.
                  Defendants W oodbridge and W SF acted as brokers or dealer and have m ade use

   of the m ails or any m eans or instrum entality of interstate com m erce to effect transactions in

   seclzrities, or to induce or attem pt to induce the ptlrchase or sale of securities, without being

   associated w ith a broker or dealer that was registered w ith the Com m ission in accordance w ith

   Section 15(b)ofthe Exchange Actg15 U.S.C.j 78o(b)1in violation of Section 15(a)ofthe

   ExchangeActL15U.S.C.j78o(a)j.
          174. Defendant Shapiro, knowingly or recl
                                                  dessly, substantially assisted Defendants

   W oodbridge and W SF'S violations of Section 15(a) ofthe Exchange Act. Unless enjoined,

   D efendant Shapiro is reasonably likely to continue to provide substantial assistance to

   W oodbridge'sand W SF'Sviolations.




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                                     RELIEF REOUESTED
          W HEREFORE,the Comm ission respectfully requests the Courttind the Defendants

   com m itted the violationsalleged,and:

                                  A.Perm anentlniunctive Relief

          lssue aPermanentlnjunction restrainingand enjoining(1)Shapiro,W oodbridge,W MF,
   W SF,Fund 1,Fund 2,Fund 3,Fund 3A,Fund 4,Bridge Loan Fund 1 and Bridge Loan Fund 2

   from violating Sections5(a)and5(c)oftheSecuritiesAct;(2)Shapiro,W oodbridge,W SF,Fund
    1, Fund 2, Fund 3, Fund 3A , Fund 4, Bridge Loan Fund 1 and Bridge Loan Fund 2 from

   violating Section 17(a)(2)ofthe Securities Actand Section 10(b)ofthe Exchange Actand
   ExchangeActRule 10b-5(b);(3)Shapiro and the Corporate Defendantsfrom violating Sections
    17(a)(1)and(3)oftheSectzritiesActand Section 10(b)oftheExchangeActand ExchangeAct
    Rules10b-5(a)and (c);(4)Shapiro and RS Trustfrom violating Section 20(a)oftheExchange
    Act;(5) W oodbridge and W SF from violating Section 15(a) of the Exchange Act;and (6)
    Shapiro from aiding and abetting W oodbridge and W SF'S violationsof Section 15(a) ofthe

    Exchange A ct.

                                            B.A ssetFreeze

          lssue an Order t-
                          reezing the assets of Shapiro,RS Trust,and the non-banltruptcy filing

    Shapiro Property LLCSand Shapiro Holding LLCS(asidentified in Appendix A),untilfurther
    Orderofthe Court.

                                   C .A ppointm cntofa R eceiver

          A ppointa receiver Over W oodbridge,R S Trust,W M F,W SF,Fund 1,Fund 2,Fund 3,

    Fund 3A , Fund 4, Bridge Loan Fund 1, Bridge Loan Fund 2, Shapiro Property LLCS, and

    Shapiro H olding LLC S.
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                                        D .R ecords Preservation

             lssue an Orderrestraining and enjoining Shapiro and RS Trust,theirdirectors,ofticers,
    agents,servants,em ployees,attorneys,depositories,banks,and those personsin active concertor

    participation w ith any one or m ore of them , and each of them , from , directly or indirectly,

    destroying,m utilating,concealing,altering,disposing of,or otherw ise rendering illegible in any

    m nnner, and of the books, records, docum ents, correspondence, brochures, m anuals, papers,

    ledgers,accounts,statem ents,obligations,files and otherproperty oforpertaining to Defendants

    and ReliefD efendants,w hereverlocated and in whateverfonn,electronic orotherw ise,thatrefer

    or relate to the acts or courses of conduct alleged in this Com plaint,tm tilfurther Order of this

    Court.

                                         E. Sw orn A ccountinz

             Issue an Order directing Shapiro and R S Trustto provide a sw orn accounting ofa1lassets

    and liabilities, including al1 m onies and real properties directly or indirectly received from

    investorsand al1uses ofinvestorfunds.

                              F.Diseorzem entand Preiudem entlnterest

             Issue an Order directing the D efendants and Relief Defendants to disgorge allill-gotten

    gains or proceeds received from investors as a result of the acts and/or courses of conduct

    complainedofherein,withprejudgmentinterestthereon.
                                        G .CivilM onev Penalties

             Issue an O rder directing the Defendants to pay civilm oney penalties pursuantto Section

    20(d)oftheSecuritiesAct,and Section 21(d)oftheExchangeAct.
                                            H .Further R elief

             G rantsuch otherand furtherreliefas m ay be necessary and appropriate.


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                                    1.R etention ofJurisdiction

           Further,theCommission respectfullyrequeststhattheCourtretainjurisdiction overthis
    action in orderto im plem entand carry outthe tennsofal1orders and decreesthatitm ay enter,or

    to entertain any suitableapplication ormotion by the Commission foradditionalreliefwithin the

    jurisdictionofthisCoul't.
                                     J.D em and For Jurv T rial

           TheCommission hereby demandsa tlialby jury on any and allissuesin thisaction so
    triable.

    D ated: D ecem ber20,2017

                                                    Respectfully subm itted,


                                                                     ... ''              -
                                        By:                    v
                                                                   .'                                  M
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                                                    SeniorTrialCounsel
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                                            A PPEN D IX A

                   Shapiro Property LLCS                      Shapiro Holding LLCS
                     Bankruptcy Fifers           #              Bankruptcy Filers
          1       215 North12thstreet,LLC
          2     AddisonParklnvestments,LLC       1     H3lAddison ParkHoldingCom pany,LLC
          3     AnchorpointInvestm ents,LLC      2     M llAnchorpointHoldingCom pany,LLC
          4      Arborvitae Investm ents,LLC     3      H32 Arborvitae HoldingCom pany,LLC
          5       Archivol tInvestments,LLC      4       M 26ArchivoltHoldingCompany,(LC
          6    Arlington Ridgelnvestments,LLC    5    F12Arlington Ridge HoldingCom pany,LLC
          7      ArrowpointInvestm ents,LLC      6     M 19 Arrowpoint Holding Com pany,LLC
          8        Baleroy lnvestm ents,LtC      7        H58Baleroy HoldingCompany,LLC
          9       Bay Village Investm ents,LLC   8      H13 Bay Village HoldingCom pany,LLC
          10      BearBrook Investm ents,Lt. C   9      H15 BearBrook Holding Com pany,LLC
          11     BeechCreeklnvestments,LLC       10     H46 Beech CreekHoldingCom panyzLLC
          12      Black BassInvestm ents,LLC     11      H53 BlackBass Holding Com pany,LLC
          13     BlackLocustlnvestm ents,LLC     12     H28BlackLocustHoldingCom pany.LLC
          14      BluffPointInvestments?LLC      13      H2O BluffPointHoldingCom pany,LLC
          15       Bow manInvestm ents,LLC       14       H49 Bowm anHoldingCom pany,LLC
          16        Bram ley lnvestm ents,LLC    15       H40 Bram ley Holding Com pany,Lt.C
          17      Brise SoleilInvestm ents,LLC   16     M 27 Brise SoleilHolding Com pany,LLC
          18      BroadsandsInvestments,LLC      17     M 28 BroadsandsHoldingCom pany,LLC
          19     Brynderw en Investm ents,LLC    18     M 29 Bw nderw en HoldingCom pany,LLC
          20       Cablestay lnvestm ents,LLC    19      M 13 Cablestay Holding Com pany,LLC
          21      Cannington lnvestm ents,LLC    20     M 31 Cannington Holding Company,LLC
          22     Carbondale Glen LotA-5,LLC                                                 .
          23     CarbondaleGlen LotE-24,LLC
          24    Carbondale Glen LotGV-13,LLC
          25    Carbondale Glen Lot5D-14,LLC
          26    CarbondaleGlenLotSD-23,LLC
                 Carbondale Glen M esa Lot19,
          27                 LLC
          28    Carbondale Glen RiverM esa,LLC   21         CrystalValleyHoldings,LLC*
                  CarbondaleGlenSundance
          29               Ponds,LLC
                 Carbondal  e Gl enSw eetgrass
          30                Vista,LLC
          31      CarbondaleSpruce101,LLC
          32     Castle Pineslnvestm ents,LLC    22    M 53 Castle PinesHolding Com pany,LLC
          33     Centershotlnvestments,LLC       23     M 25 CentershotHoldingCom pany,LLC
          34        Chaplin Investments,LLC      24       M76Chaplin HoldingCompany,LLC
          35       ChestnutInvestm ents,LLC      25          M 79 ChestnutCom pany,LLC
          36    ChestnutRidge lnvestm ents,LLC   26    15ChestnutRidge HoldingCom pany,LLC
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         37    CloverBasin Investm ents,LLC      27    M 45 CloverBasin Holding Com pany,LLC
         38    Cofsee CreekInvestm ents,LLC      28   M 51 Coffee CreekHolding Com pany,LLC
         39     Crossbeam Investm ents,LLC       29    M 14 Crossbeam HoldingCom pany,LLC
         40      Crowfield lnvestments,LLC       30     M63Crowfield HoldingCompany,LLC
         41    CwstalW oods lnvestments.LLC      31   M 92 CrystalW oodsHolding Com panyzLLC
         42       Dalevill
                         e lnvestments,LLC       32      M 72DalevilleHoldingCom pany,LLC
         43      DerbyshireInvestm ents,LLC      33     M 39 DerbyshireHoldingCom pany,LLC
         44    Diamgnd Cove Investments,LLC      34   H76 Diam ond Cove Holding Com pany,LLC
         45    DixvilleNotchlnvestments,LLC      35   H14 DixvilleNotchHoldingCom pany,LLC
          46    DogwocdValley lnvestments,       36   1
                                                      -17 Dogw ood Valley Holding Cornpany,LLC
                              LLC
          47    Dollis Brook Investments,LLC     37    M 32 Dollis Brook Holding Com pany,LLC
          48    DonningtonInvestments,LLC        38     M 9Donnington HoldingCompany,LLC
          49    DoubleleafInvestm ents,LLC       39    M 15 DoubleleafHolding Com pany,LLC
          50     Drawspan investm ents,LLC       40     M 22 Draw span Holding Com pany,LLC
          51      Eldredge lnvestm ents,LLC      41      M 71 Eldredge Holding Com pany,LLC
          52       Elstarlnvestments,LLC         42       H25 El starHoldingCom pany,LLC
          53   Em erald Lake Investm ents,LLC    43    H19 Em erald Lake Holding Com pany,LLC
          54     Fieldpointlnvestm ents,LLC      44     M 24 FieldpointHoldingCom pany,LLC
          55   Franconia Notch Investments,      45   M 88 Franconia Notch Holding Com pany,LLC   .
                            LLC
          56     Gateshead lnvestments,LLC       46     M 10Gateshead HoldingCom pany,LLC
          57     Gfenn RichInvestments,LLC       47     M 85GlennRichHol  dingCom pany,LLC
          58    Goose Rockslnvestm ents,LLC      48    M 93 Goose Rocks Holding Com pany,LLC
          59    Goosebrook Investm ents,LLC      49    M 68 GoosebrookHolding Com pany,LLC
          60    Graeme Park Investments,LLC      50    H68 Graem e Park Holding Company,LLC
          61    Gravenstein lnvestm ents,LLC     51    H26 Gravenstein Holding Com pany,LLC
          62    GreenGablesInvestm ents,LLC      52    H44 GreenGablesHoldingCom pany,LtC
          63      Grenadierlnvestm ents,LLC      53      H27 GrenadierHolding Com pany,LLC
          64   GrumblethorpeInvestments.LLC      54   H41GrumblethorpeHoldingCompany,LLC
          65    HackmatackInvestments,LLC        55   M87 HackmatackHill sHoldingCom panv,LLC
          66     Ha/enburg lnvestm ents,LLC      56     M 56 Haffenburg Holding Com pany,LLC
          67       Haralsonlnvestments,LLC       57       H39 Haralson HoldingCompany,LLC
          68    Harringworth Investm ents,LLC    58    M 33 HarringworthHoldingCom pany,LLC
          69      Hazelpointlnvestm ents,LtC     59     M 80 HazelpointHolding Com panygLLC
          70     Heilbron M anorinvestments,     60    H66 Heilbron M anorHolding Com pany,LLC
                               LLC
          71           Holl
                          ylineOw ners,LLC       61              HollylineHoldings,LLC
          72      Hornbeam Investments,LLC       62      H35Hornbeam HoldingCom pany,LLC
          73         Idared lnvestm ents,LLC     63        8137ldared HoldingCompany,LLC
          74     Im perialA1y Investm ents,LLC   64      H74 lm perialAly HoldingCom pany,LLC
          75       IronsidesInvestm ents,LLC     65       M 99IronsidesHoldingCom pany,LLC
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         76      LenniHeightslnvestments,LLC        66     H43 LenniHeightsHoldingCom pany,LLC
         77      Lil
                   ac M eadow ynvestm ents,LLC      67     1-16 LilacM eadow Holding Company.LLC
         78       LincobnshireInvestm ents,LLC      68     M 17LincolnshireHoldingCompany,LLC
         79         Lonetree lnvestm ents,LLC       69        M 54 Lonetree HoldingCompany,LLC
         80        Longbourn Investm ents,LLC       70       M 40Longbourn HobdingCom pany,LLC
         81        M ason Rtïn lnvestm ents,LLC     71       M 7,3 M asonRun HoldingCom pany,LLC
         82       M elody Lane Investments,LLC      72       1
                                                             -18 M elody Lane Holding Company,LLC
         83      M errim ackValley Investm ents,    73    M 9O M errim ackValley Holding Company,LLC
                              LLC
         84         M ineolalnvestm ents,LLC        74       M 61 M ineolaHoldingCompany?LLC
         85      M onadnock Investments,LLC         75      H16 M onadnock Holding Com pany,LLC
         86        M oravianInvestments,LLC         76       H60 M oravianHoldingCom pany,LLC
          87     M ountain Spring Investments,      77    M 67 M ountainSpringHol
                                                                                dingCom pany,LLC
                                 LLC
          88        M t.Holly lnvestments,LLC       78        M 83 M t.Holly Holding Com pany,LLC
          89         M utsu Investm ents?LLC        79         H38M utsu HoldingCom pany,LtC
          90        NewvilleInvestments,LLC         80        M 9lNewviîleHoldingCom pany,LLC
          91      Old Carbon Investm ents,LLC       81       H51Old Carbon Holding Com pany,LLC
          92     Old M aitland Investm ents,LLC     82      H5501d M aitland HoldingCom pany,LLC
          93       Ow lRidge Investm ents,LLC       83        M 46 OwlRidge Holding Com pany,LLC
          94        papirovkalnvestm ents,LLC       84        H22PapirovkaHoldingCom pany,LLC
          95     Pawtuckaway Investm ents,LLC       85       H4 Pawtuckaway Holding Com pany,LLC
          96       Pemberley lnvestments,LLC        86       M 38 Pem berley Holding Com pany,LLC
          97     Pem i  gewasset Investm ents,LLC   87      H17 Pem igew asset Holding Com pany,LLC
          98      Pepperwood lnvestm ents,LLC       88      M 95 Pepperw ood HoldingCom pany,LLC
          99          PinneyInvestments,LLC         89         M70 PinneyHoldingCompany,LLC
          1O0         Pinova lnvestm ents,LLC       90          H23 Pinova Holding Com pany?LLC
          101     QuarterpostInvestments,LLC        91       M34 QuarterpostHoldingCompany,LLC
          102      RedW oodslnvestm ents,LLC        92       M 97 RedW oodsHoldingCom pany,LLC
          103       Bidgecrestlnvestm ents,LLC      93        M 57 RidgecrestHoldingCom pany,LLC
          104      Riley Creek Investments,LLC      94       M 75 Riley Creek Holding Com pany,LLC
          1O5       Hi sing 5un lnvestm ents,LLC    95        H59 Rising Sun Holding Com pany,LLC
          106       Sagebrook Investm ents,LLC      96       M 62 SagebrookHolding Com pany,LLC
          107      Seven StarsInvestm ents,LLC      97       H54 Seven StarsHolding Com pany,LLC
          1O8         SilkCityInvestm ents,LLC      98         H11SilkCity HoldingCom pany,tLC
          1O9      SilverM aple Investm ents,LLC    99       H30 SilverM aple Holding Com pany,LLC
          110      Silverthorne lnvestm ents,LLC    100      M 4lSilverthorne HoldingCom pany,LLC
          111       SpringlineInvestments,LLC       101       M 36Springline HoldingCom pany,LLC
          112       Squaretop lnvestm ents?LLC      102       M 49 Squaretop Holding Com pany,LLC
          113         Staym an Investm ents,LLC     103       H24 Staym an Ffolding Com pany,LLC
          114        SteeleHilllnvestm ents,LLC     104       M 86 Steel
                                                                       e HillHoldingCom pany,LLC
           115       Stepstone Investm ents:LLC     105       M 5 Stepstone Holding Com pany,LLC
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         116     Straw berry FieldsInvestm ents,   1O6      1
                                                            -19strawberryFieldsHoldingCom pany,LLC
                               LLC
         117    SturmerPippin Investments,LLC      107       H36 SturmerPippin HoldingCompany,LLC
         118      Sum m erfreelnvestm ents,LLC     108        U21Sum medree FloldingCom pany,LLC
         119      Sum m itCutInvestm ents,LLC      109        H47 Summ itCutHolding Company,LLC
         120     Thornburv 'Farm lnvestm ents,     110      H65ThornburyFarm HoldingCompany,LLC
                               LLC
         121    ThunderBasinlnvestm ents,LLC       l11       M 60ThunderBasin HoldingCompany,LLC
         122       Topchordlnvestments,LLC         l12         M 37Topchord HoldingCompany,LLC
         123       Vallecito Investments,LLC       113          M48Vaîlecito HoldingCompany,LLC
         124         Varga lnvestm ents,LLC        114           M 74 Varga Holding Com pany,LLC
         125      W etterhornInvestm ents,LLC      115        M 50 W etterhorn HoldingCompany,LLC
         126      W hiteBirch Investm ents,LtC     116         H12W hiteBirchHoldingCom pany,LLC
         127     W hite Dom e Investm ents,LLC     117        M 43 W hite Dom e Holding Com pany,LLC
         128      W ildernestlnvestm ents?LLC      118         M 44 W ildernestHoldingCom pany,LLC
          129    W illow Grovelnvestments,LLC      119        H52W illow Grove HoldingCom pany,LLC
          13O    W inding Road lnvestm ents,LLC    120       M 94 W inding Road Holding Com pany,LLC
          131         Zestarlnvestm ents,LLC        121           H29 ZestarHolding Com pany,LLC

         Non-BankruptcyFilingShapiro Property             Non-BankruptcyFiling Shapiro Holding LLCS
                          LLCS
          132         695 BuggyCircle,LLC          122               BuggyCircle HoldingsaI-LC
          133     Carbondade Glen tot18,LLC
          134     CarbopdafeGfenLotL-2,LLC         21              CrystalValleyHoldings,LLC*
          135     CarbondaleGlenOwners,LLC         121            CarbondaleBasaltOwners,LLC
          l36     Cqrbondalé FeaksLotL-1,LLC       21              CrystalValleyHoldings,I-t.
                                                                                            C*
          137    Deedield ParkInvestments,LLC      124        H10 Deerfield ParkHolding Com pany?LLC
          138      FrogRocklnvestmentszLLC         125         M 77FrogRockMoldingCompany,LLC
          139      Haw thornlnvëstm ents,LLC       126          H33 Hawthorn HofdingCom pany,LLC
          140      LilacValleyInvestments,LLC      127         M 96LilacValleyHoldingCompany,LLC
          141     M assabesic lnvestments,LLC       128         H18 M assabesic Holding Com pany,LLC
          142    M ountW ashington Investm ents, 129        M 89 M ountW ashlngton HoldingCom pany,tLC
                                LLC
          143     SachsBridgelnvestments,LLC 130               H5O SachsBridge Hol  dingCom pany,LLC
          144      Springvale Investm ents,LLC   131            M 58 springvale Holding Com pany,LLC

         *crystalValleyHoldings,LLC isaBankruptcyfiler,buttwo ofitsassociatedShapiro Property LLCS
         (CarbondaleGlenLotL-2gLLCandCarbondalePeakstotL-1,LLC)arenotbankruptcyfilers.
